                                                                           Our File: 8212

July ____, 2016

Symmetry Asset Management Inc.
1250 Hayter Road
Edmonton, AB, T6S 1A2
Attention: Dan White

Dear Sirs:

Re:           $40 Million (Maximum) First Mortgage Credi Facili ( he Loan )
              Eco-Industrial Business Park (Lot 11), Edmonton, AB
              Various parcels, Lamont, AB
              3501 Ed Bluestein Blvd., Austin, TX


Reference is made to the amended and restated commitment letter dated July 30, 2015,
as amended by Supplement No. 1 made effective as of August 31, 2015, Supplement No.
2 dated May 31, 2016, and Supplement No. 3 dated June 17, 2016 ( he Commitment ),
among Romspen Investment Corporation, as trustee (the Lender ), Lot 11 Limited
Partnership, Absolute Energy Resources Inc. and Symmetry Asset Management Inc. (the
"Borrowers ).

All capitalized words used herein, unless otherwise defined herein, shall have the
meaning ascribed to them in the Commitment, as amended by this Supplement No. 3 (this
 Supplement ).

The parties hereto wish to further amend the Commitment and the Loan terms, and agree
as follows:

1.     Amendments

The Commitment is hereby amended as follows:

(a)    Sec ion 1 Bo o e       i amended b deleting Symmetry Asset Management Inc.
       as a Borrower.

(b)    Section 2 Covenantors i amended b adding Symmetry Asset Management
       Inc., Zen Garden Limited Partnership, and 3443 Zen Garden Limited Partnership
       as Covenantors.

(c)    Fo he p po e of he Commi men , he Te a LP means 3443 Zen Garden
       Limi ed Pa ne hip, he Te a GP means 3443 Zen Garden LLC, he Albe a
       LP mean Zen Ga den Limi ed Pa ne hip, he Albe a GP mean Zen Ga den
       GP L d., S mme     means Symmetry Asset Management Inc.

(d)    The following additional security (Section 9) shall be given to the Lender:
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       (i)     A second-ranking deed of trust, assignment of leases and rents, security
               agreement and fixture filing over the Austin Property from the Texas LP;

       (ii)    An environmental indemnity from the Texas LP, Symmetry and Alberta LP;

       (iii)   Pledges of ownership interests (and proxies) from:

               A.      Symmetry (ownership in Alberta GP and Alberta LP);

               B.      Alberta GP (ownership in Alberta LP and Texas GP)

               C.      Alberta LP (ownership in Texas LP)

               D.      Texas GP (ownership in Texas LP)

       (iv)    Guarantees of all indebtedness and obligations in respect of the Loan from:

               A.      Symmetry;

               B.      Alberta LP

               C.      Texas LP

       (v)     General Security Agreement from Alberta LP;

       (vi)    Assignment of Agreements, Licenses, Permits and Contracts from Texas LP.

2.     Security Amendments

If required by the Lender, the Security will be amended to reflect these Commitment
amendments, to the satisfaction of the Lender and its solicitors. The Borrowers and the
Covenantors agree to execute and deliver, upon request by the Lender, such further
agreements, documents, instruments and assurances as may be required by the Lender
in order to confirm and give effect to the provisions of this Supplement.

3.     Representation and Warranty

To induce the Lender to enter into this Supplement, Borrower hereby reaffirms to the
Lender that, as of the date hereof, its representations and warranties contained in the
Commitment, as amended by this Supplement, and except to the extent such
representations and warranties relate solely to an earlier date, are true and correct and
additionally represents and warrants as follows:

     (a)       the execution and delivery of this Supplement and the performance by it of
               its obligations under this Supplement: (i) are within its corporate powers,
               (ii) have been duly authorized by all necessary corporate action, (iii) have
               received all necessary governmental approval (if any were required), and
               (iv) do not and will not contravene or conflict with any provision of
               applicable law or any of its constating documents or of any material
               agreement, judgment, license, order or permit applicable to or binding upon
               it; and
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      (b)       each of the Commitment, as amended by this Supplement, and the
                Security is and will continue to be a legal, valid and binding obligations,
                enforceable in accordance with its terms.

4.      Conditions

In addition to the conditions contained in the Commitment or the Security, the obligations
of the Lender under this Supplement are subject to the satisfaction or waiver of the
following conditions:

(a)     the parties other than the Lender shall have executed and delivered this
        Supplement, such other additional or amended security, confirmations of existing
        Security, documents, certificates, instruments and agreements, as are
        contemplated by this Supplement or as the Lender or its counsel may reasonably
        require, all in form and content satisfactory to the Lender, and registered if required
        by the Lender;

(b)     payment of he Lende        fees and out-of-pocket costs incurred in preparing,
        negotiating and executing this Supplement and the documents contemplated
        hereby, including i ho limi a ion, he fee and e pen e of he Lende
        consultants and outside counsel. Such costs may be deducted by the Lender from
        any Advance;

(c)     approval by the Lender of all documentation relating to the transfer of the Austin Property
        and the assumption by the Texas LP of various obligations in respect thereof.

5.      References

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Commitment shall mean the Commitment, as amended by this Supplement.

6.      Miscellaneous

Nothing in this Supplement shall be construed or interpreted as novating any obligations,
terms or conditions of the Commitment, the Security or any other document entered into
pursuant thereto or contemplated thereby ( he Loan Documents ), all of which
obligations, terms and conditions remain in full force and effect, without any amendment
or modification thereto, save and except only as expressly amended or supplemented by
this Supplement. The parties hereby ratify and confirm the Loan Documents.

The terms and conditions of this Supplement shall be governed by and interpreted in
accordance with the laws of the Province of Alberta and the Borrower and each
Covenantor hereby irrevocably attorn to the jurisdiction of the courts of the Province of
Alberta.

In the event of any inconsistency between the terms and conditions of this Supplement
and the terms and conditions of the Commitment, this Supplement shall prevail.

This Supplement may be executed in one or more counterparts, each of which so
executed will constitute an original and all of which will constitute one and the same
agreement. This Supplement may be executed by the parties and transmitted by facsimile
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or other electronic means and if so executed and transmitted this Supplement will be for all
purposes as effective as if the parties had delivered an executed original agreement.

Yours truly,

ROMSPEN INVESTMENT CORPORATION


By:


I have authority to bind the Corporation.

The undersigned accept this Supplement as at July _____, 2016.

BORROWERS:

LOT 11 GP LTD., IN ITS CAPACITY AS GENERAL PARTNER OF LOT 11 LIMITED
PARTNERSHIP


Per:_______________________________
Name:
Title:

Per:_______________________________
Name:
Title:

I/We have authority to bind the corporation.

ABSOLUTE ENERGY RESOURCES INC.


Per:_______________________________
Name:
Title:

Per:_______________________________
Name:
Title:

I/We have authority to bind the corporation.
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GUARANTORS:

SYMMETRY ASSET MANAGEMENT INC.


Per:_______________________________
Name:
Title:

Per:_______________________________
Name:
Title:

I/We have authority to bind the corporation.



ZEN GARDEN LIMITED PARTNERSHIP, BY ITS GENERAL PARTNER, ZEN GARDEN
GP LTD.

Per:_______________________________
Name:
Title:

Per:_______________________________
Name:
Title:

I/We have authority to bind the corporation.


3443 ZEN GARDEN LIMITED PARTNERSHIP, BY ITS GENERAL PARTNER, 3443 ZEN
GARDEN GP LLC

Per:_______________________________
Name:
Title:

Per:_______________________________
Name:
Title:

I/We have authority to bind the company.
